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                            U.S. Department of Justice                                                                    Mid-Atlantic Laboratory
                            Drug Enforcement Administration                                                               Largo, MD



                                                                                                                                       Chemical Analysis Report
Bristol Post of Duty                                                                                 Case Number: KR-16-0001
1913 Lee Highway, Suite 302                                                                          LIMS Number: 2017-SFL3-00838
Bristol, VA 24201


Observations, Results and Conclusions:

     Exhibit                         Substance(s) Identified                               Net Weight                  Substance Purity            Amount Pure Substance
       13                                Hydromorphone                                    9.74 g ± 0.01 g                    ----                            ----

Remarks:
Exhibit 13: Supplemental report to reflect analysis conducted. Refer to original laboratory report dated 06/21/2018.

Exhibit 13: The net weight was determined by direct weighing of all unit(s). The net weight uncertainty value represents an expanded
uncertainty estimate at the 95% level of confidence.

Exhibit 13: Total dosage unit count = 61 tablets (net); 48.9 tablets (reserve).

Exhibit Details:
Date Accepted by Laboratory: 03/13/2017                            Gross Weight: 41.1 g                                 Date Received by Examiner: 04/11/2019

Exhibit                      No. Units                     Pkg. (Inner)                             Form                                       Reserve Wt.
13                              61                     Ziplock Plastic Bag                         Tablet                                         7.81 g
Remarks:

Exhibit Analysis:
Sampling:
Exhibit 13: Hydromorphone confirmed in 23 units tested of 61 units received indicating, to at least a 95% level of confidence, that at least
90% of the units in the population contain the substance(s). A composite was formed from 23 units for further testing.

Exhibit         Summary of Test(s)
13              Gas Chromatography, Gas Chromatography/Mass Spectrometry




Analyzed By: /S/ Joseph Ibrahim, Forensic Chemist                                                                                   Date: 04/19/2019
Approved By: /S/ Erin M. Angerer, Senior Forensic Chemist                                                                           Date: 04/22/2019

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